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                                               14                                UNITED STATES DISTRICT COURT
                                               15                                       DISTRICT OF NEVADA
                                               16 NOEL C. MURRAY and DR. SWARNA                          Case No.: 2:18-cv-01382-MMD-GWF
                                                  PERERA, on behalf of themselves and all others
                                               17 similarly situated,

                                               18                         Plaintiffs,                    STIPULATION AND [PROPOSED]
                                                              v.                                         ORDER TO EXTEND THE TIME FOR
                                               19                                                        DEFENDANTS TO RESPOND TO
                                                                                                         COMPLAINT
                                               20 PROVIDENT TRUST GROUP, LLC, and
                                                  ASCENSUS, LLC,
                                               21
                                                                 Defendants.
                                               22

                                               23           Plaintiffs Noel C. Murray and Dr. Swarna Perera (“Plaintiffs”), by and through their counsel
                                               24 of record, the Law Office of Hayes & Welsh and the Law Office of Christopher J. Gray, P.C., and

                                               25 Defendants Provident Trust Group, LLC, and Ascensus, LLC, by and through their counsel of

                                               26 record, Greenberg Traurig, LLP, and Groom Law Group, Chartered, stipulate and request that the

                                               27 Court extend the time by which Defendants must respond to the Complaint by forty-five (45) days

                                               28 up to, and including, October 8, 2018. This Stipulation is made and based upon the following:


                                                                                                     1
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                                                1
                                                            1. Plaintiffs filed their Complaint on July 26, 2018, in which they allege Defendants
                                                2
                                                                breached their contractual and fiduciary duties as trustees and custodians of Plaintiffs’
                                                3
                                                                Individual Retirement Accounts. ECF No. 1. Plaintiffs seek certification to represent a
                                                4
                                                                class of similarly situated individuals across the country. Id.
                                                5
                                                            2. Defendants were served with the Complaint on August 2, 2018.                  ECF No. 7.
                                                6
                                                                Defendants’ response is currently due August 23, 2018. Id.
                                                7
                                                            3. Counsel for Defendants have recently been engaged and require additional time to
                                                8
                                                                evaluate Plaintiffs’ allegations and prepare a response, taking into account the exercise
                                                9
                                                                of due diligence.
                                               10
                                                            4. In light of the foregoing, the parties agree that Defendants shall have up to, and
                                               11
                                                                including, October 8, 2018, to respond to the Complaint.
                                               12
                                                            5. This is the first request for an extension of time. This Stipulation is entered into in good
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                                                                faith and not for purposes of delay.
                         Suite 400 North




                                               14

                                               15 DATED this 20th day of August, 2018.                     DATED this 20th day of August, 2018.
                                               16
                                                   /s/ Jason Hicks                                           /s/ Christopher Gray
                                               17 Mark F. Ferrario, Esq.                                    Martin L. Welsh, Esq.
                                               18 Jason K. Hicks, Esq.                                      LAW OFFICE OF HAYES & WELSH
                                                  GREENBERG TRAURIG, LLP
                                               19                                                           Christopher J. Gray, Esq.
                                                  Michael J. Prame, Esq.                                    Michael Giarrusso, Esq.
                                               20 Sarah M. Martin, Esq.                                     LAW OFFICE OF CHRISTOPHER J. GRAY
                                                  GROOM LAW GROUP, CHARTERED                                Attorneys for Plaintiffs
                                               21 Attorneys for Defendants

                                               22

                                               23
                                                                                                           IT IS SO ORDERED.
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                                               25
                                                                                                           UNITED STATES DISTRICT JUDGE
                                               26

                                               27                                                          DATED: __________________________

                                               28


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                                                    LV 421190661v1
